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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                         ______

KEITH A. GOODWIN,

                        Plaintiff,                     Case No. 1:20-cv-725
v.                                                     Honorable Hala Y. Jarbou
KENT COUNTY DISTRICT ATTORNEY
and JUDGE PAUL L. MALONEY,

                        Defendants.
______________________________/

                                               ORDER

         For the reasons set forth in the Opinion entered this date,

         IT IS ORDERED THAT Plaintiff’s objections (ECF No. 14) are DENIED.

         IT IS FURTHER ORDERED THAT the Report and Recommendation (ECF No. 12) is

APPROVED and ADOPTED as the opinion of the Court.

         IT IS FURTHER ORDERED THAT Defendant Paul L. Maloney’s motion to dismiss

(ECF No. 7) is GRANTED and the case against the remaining defendant is REMANDED to state

court.

         IT IS FURTHER ORDERED THAT Plaintiff’s motion to enforce a judgment (ECF No.

15) is DENIED.




 Dated: October 30, 2020                               /s/ Hala Y. Jarbou
                                                       Hala Y. Jarbou
                                                       United States District Judge




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